Case 1:19-cr-00099-DKW-KJM Document 407 Filed 10/28/21 Page 1 of 3   PageID #:
                                  2783



 JUDITH A. PHILIPS
 Acting United States Attorney
 District of Hawaii

 MICHAEL NAMMAR
 MICAH SMITH
 MARK A. INCIONG CA BAR #163443
 Assistant U.S. Attorneys
 Room 6100, PJKK Federal Building
 300 Ala Moana Boulevard
 Honolulu, Hawaii 96850
 Telephone: (808) 541-2850
 Facsimile: (808) 541-2958
 Email: Michael.Nammar@usdoj.gov
         Micah.Smith@usdoj.gov
         Mark.Inciong@usdoj.gov

 Attorneys for Plaintiff
 UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,      )      CR. NO. 19-00099-01 DKW
                                )
                Plaintiff,      )      GOVERNMENT’S RESPONSE TO
                                )      DEFENDANT MISKE’S MOTION
      vs.                       )      TO CONTINUE TRIAL;
 MICHAEL J. MISKE, JR.     (01) )      CERTIFICATE OF SERVICE
                                )
                Defendant.      )
 _______________________________)

          GOVERNMENT’S RESPONSE TO DEFENDANT MISKE’S
                  MOTION TO CONTINUE TRIAL
Case 1:19-cr-00099-DKW-KJM Document 407 Filed 10/28/21 Page 2 of 3            PageID #:
                                  2784



       COMES NOW, the plaintiff, United States of America, by and through its

 counsel, Judith A. Philips, Acting United States Attorney, and Michael Nammar,

 Micah Smith and Mark A. Inciong, Assistant United States Attorneys and states it

 has no objection to Defendant Michael J. Miske, Jr.’s motion to continue trial in

 this matter from March 21, 2022 to a date in September 2022.

       DATED: October 28, 2021, at Honolulu, Hawaii.

                                              JUDITH A. PHILIPS
                                              Acting United States Attorney
                                              District of Hawaii

                                                      /s/ Mark A. Inciong
                                              By
                                                   MICHAEL NAMMAR
                                                   MICAH SMITH
                                                   MARK A. INCIONG
                                                   Assistant U.S. Attorneys




                                          2
Case 1:19-cr-00099-DKW-KJM Document 407 Filed 10/28/21 Page 3 of 3           PageID #:
                                  2785



                           CERTIFICATE OF SERVICE

       I hereby certify that, on the dates and by the methods of service noted below,

 a true and correct copy of the foregoing was served on the following at their last

 known addresses:

 Served Electronically through CM/ECF:

       Lynn Panagakos, Esq.
       Thomas Otake, Esq.
       Michael Burt, Esq.
       Attorneys for Defendant
       MICHAEL J. MISKE, JR.

       DATED: October 28, 2021, at Honolulu, Hawaii.

                                                    /s/ Dawn Aihara
                                               ______________________
